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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :
                                               :
                                               :
               v.                              :               CRIMINAL NO. 18-193
                                               :
                                               :
DKYLE JAMAL BRIDGES                            :
KRISTIAN JONES                                 :


              DEFENDANTS’ JOINT RESPONSE IN OPPOSITION TO THE
             GOVERNMENT’S MOTION TO ADMIT AUDIO RECORDINGS

       Defendants Dkyle Jamal Bridges and Kristian Jones are charged with conspiring to

commit sex trafficking and three counts of sex trafficking of minors by force, threats, and means

of force. The government’s Motion seeks permission to introduce into evidence audio

recordings capturing telephone calls between the Defendants, and between the Defendants and

others, pursuant to United States v. Starks, 515 F.2d 112 (3d Cir. 1975). The government’s audio

recordings in its possession had not yet been produced to the defense at the time the

government’s Motion was filed. Indeed, the defense only received the recordings less than one

week before the parties’ responses to pretrial motions are due. And the government, as noted in

its Motion, has not yet identified which specific recordings it intends to publish at trial.

Accordingly, the Defendants reserve the right to object to the admission of the audio recordings.

                                               Respectfully submitted,

                                               /s/ Andrew Montroy
                                               ANDREW MONTROY, ESQUIRE

                                               /s/ Leigh M. Skipper
                                               LEIGH M. SKIPPER
                                               Chief Federal Defender
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                                CERTIFICATE OF SERVICE


       We, Andrew Montroy, Esquire, and Leigh M. Skipper, Chief Federal Defender, hereby

certify that we electronically filed and served a copy of Defendants’ Joint Response in

Opposition to the Government’s Motion to Admit Audio Recordings upon Seth M. Schlessinger,

Assistant United States Attorney, United States Attorney’s Office, Suite 1250, 615 Chestnut

Street, Philadelphia, Pennsylvania 19106 and upon Jessica L. Urban, Esquire, Trial Attorney,

United States Department of Justice, Criminal Division, 1400 New York Avenue, N.W.,

Washington, D.C. 20005.

                                             /s/ Andrew Montroy
                                             ANDREW MONTROY, ESQUIRE

                                             /s/ Leigh M. Skipper
                                             LEIGH M. SKIPPER
                                             Chief Federal Defender

DATE: October 31, 2018
